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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

 ADRIAN COSS and MARIBEL OCAMPO,                    )
 individually and on                                )      Case No. 1:22-cv-02480
 behalf of all others similarly situated,           )
                                                    )
                     Plaintiffs,                    )
                                                    )
 v.                                                 )
                                                    )
 SNAP INC.,                                         )
                                                    )
                     Defendant.
                                    CLASS ACTION COMPLAINT

            NOW COME the Plaintiffs, ADRIAN COSS and MARIBEL OCAMPO, by and

through their counsel, James C. Vlahakis, and state as follows:

      I.    Introduction & Summary of the Illinois Biometric Information Privacy Act

            1.      Plaintiffs MARIBEL OCAMPO and ADRIAN COSS (hereafter “Plaintiffs”) are

citizens of Illinois and reside in the Northern District of Illinois.

            2.      Plaintiffs allege that Defendant violated Plaintiffs’ privacy rights as codified

by the Illinois Biometric Information Privacy Act, 740 ILCS 14/1, et seq. (“BIPA”).

            3.      BIPA was enacted in 2008 for the purpose of addressing a "very serious

need for protections for the citizens of Illinois when it [comes to their] biometric

information." Illinois House Transcript, 2008 Reg. Session No. 276.

            4.      BIPA’s express Legislative Findings provide as follows:

                 (a) The use of biometrics is growing in the business and security
                 screening sectors and appears to promise streamlined financial
                 transactions and security screenings.
                 (b) Major national corporations have selected the City of Chicago and
                 other locations in this State as pilot testing sites for new applications
                 of biometric-facilitated financial transactions, including finger-scan
                 technologies at grocery stores, gas stations, and school cafeterias.
                 (c) Biometrics are unlike other unique identifiers that are used to
                 access finances or other sensitive information. For example, social
                 security numbers, when compromised, can be changed. Biometrics,

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            however, are biologically unique to the individual; therefore, once
            compromised, the individual has no recourse, is at heightened risk for
            identity theft, and is likely to withdraw from biometric-facilitated
            transactions.
            (d) An overwhelming majority of members of the public are weary of the
            use of biometrics when such information is tied to finances and other
            personal information.
            (e) Despite limited State law regulating the collection, use,
            safeguarding, and storage of biometrics, many members of the public
            are deterred from partaking in biometric identifier-facilitated
            transactions.
            (f) The full ramifications of biometric technology are not fully known.
            (g) The public welfare, security, and safety will be served by regulating
            the collection, use, safeguarding, handling, storage, retention, and
            destruction of biometric identifiers and information.

740 ILCS 14/5.

       5.      BIPA prohibits private entities from collecting, capturing, purchasing,

receiving through trade, or otherwise obtaining a person's biometric information unless

the private entity: (1) informs that person in writing that identifiers and information will

be collected and/or stored; (2) informs the person in writing of the specific purpose and

length for which the identifiers or information is being collected, stored or used; (3)

receives a written release from the person for the collection of that data; and (4)

publishes publicly available written retention schedules and guidelines for permanently

destroying said data. See 740 ILCS 14/15(a) and (b).

       6.      The Illinois Supreme Court has recognized that BIPA was enacted to

preserve an individual’s right to privacy and control over his/her/their biometric data:

            Through the Act, our General Assembly has codified that individuals
            possess a right to privacy in and control over their biometric identifiers
            and biometric information. The duties imposed on private entities by
            section 15 of the Act (740 ILCS 14/15 (West 2016)) regarding the
            collection, retention, disclosure, and destruction of a person's or
            customer's biometric identifiers or biometric information define the
            contours of that statutory right. Accordingly, when a private entity fails to
            comply with one of section 15's requirements, that violation constitutes an
            invasion, impairment, or denial of the statutory rights of any person or


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             customer whose biometric identifier or biometric information is subject to
             the breach.
                                               ***
             The Act vests in individuals and customers the right to control their
             biometric information by requiring notice before collection and giving them
             the power to say no by withholding consent. . . . When a private entity fails
             to adhere to the statutory procedures, as defendants are alleged to have
             done here, "the right of the individual to maintain his or her biometric
             privacy vanishes into thin air. The precise harm the Illinois legislature
             sought to prevent is then realized." This is no mere "technicality." The
             injury is real and significant.

Rosenbach v. Six Flags Ent. Corp., 432 Ill. Dec. 654, 129 N.E.3d 1197, 1206 (Ill. 2019)).

       7.       Defendant Snap Inc. (“Defendant” or “Snap”) is a Delaware corporation

with its principal place of business located in Santa Monica, California.

       8.       Defendant is a publicly traded company, and is listed on the New York

Stock Exchange under the trading symbol "SNAP."

       9.       Defendant is the owner and operator of a “Snapchat”.

       10.      Defendant has described itself as “a camera company.” See, Defendant’s

Form 10-Q for the quarterly period ending March 31, 2022, at p. 10.

       11.      Snap’s Form 10-Q for the period ending March 31, 2022, is located at

https://investor.snap.com/financials/sec-filings/sec-filings-

details/default.aspx?FilingId=157450811

       12.      Defendant has described “Snapchat” as its “flagship product. Id.

       13.      Snapchat “is a camera application that was created to help people

communicate through short videos and images called ‘Snaps.’” Id.

       14.      As detailed below, Snapchat utilizes technology that is subject to BIPA.




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 A pdf version of this document is hosted at https://d18rn0p25nwr6d.cloudfront.net/CIK-
0001564408/c10435fc-36f6-4f32-b8f0-f1617a9e1e8a.pdf



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         15.   As detailed below, certain technology utilized by Snapchat required

Defendant to obtain informed written consent from Shapchat users before Defendant

was able to acquire the biometric identifiers and/or biometric information of Snapchat

users.

         16.   Plaintiff Coss has utilized the Snapchat app. to create and post Snaps by

and through the Snapchat app.

         17.   Plaintiff Ocampo has utilized the Snapchat app. to create and post Snaps

by and through the Snapchat app.

         18.   Plaintiff Coss has utilized the Snapchat app. to create and post

photographic based Snaps where the Snaps involved their unique facial features.

         19.   Plaintiff Ocampo has utilized the Snapchat app. to create and post

photographic based Snaps where the Snaps involved their unique facial features.

         20.   Plaintiff Coss has utilized the Snapchat app. to create and post video based

Snaps where the Snaps involved their unique facial features.

         21.   Plaintiff Ocampo utilized the Snapchat app. to create and post video based

Snaps where the Snaps involved their unique facial features.

         22.   Plaintiff Coss has utilized the Snapchat app. to create and post Snaps that

depicted their unique voices.

         23.   Plaintiff Ocampo utilized the Snapchat app. to create and post Snaps that

depicted their unique voices.

         24.   As described below, Defendant has violated Plaintiffs’ privacy rights in

violation of rights and prohibitions set forth by BIPA.

         25.   On November 26, 2021, Plaintiff Coss has opted out of Defendant’s

arbitration clause that was contained within Defendant’s Terms of Service dated

November 15, 2021.


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      26.       Defendant acknowledged receipt of Plaintiff Coss’ opt-out request at 1:13

p.m. on November 26, 2021.

      27.       On November 28, 2021, Plaintiff Ocampo has opted out of Defendant’s

arbitration clause that was contained within Defendant’s Terms of Service dated

November 15, 2021.

      28.       In November and December of 2020, More than forty (40) Illinois users of

Snapchat have opted out of opted out of Defendant’s arbitration clause that was

contained within Defendant’s Terms of Service dated November 15, 2021.

       II.      Jurisdiction and Venue

      29.       Section 20 of BIPA provides Plaintiffs with a private right of action to assert

violations of BIPA. See, Rosenbach, 432 Ill. Dec. at 660, 129 N.E.3d at 1203; Bryant v.

Compass Grp. USA, Inc., 958 F.3d 617, 620 (7th Cir. 2020).

      30.       The Class Action Fairness Act (“CAFA”), codified at 28 U.S.C. § 1332(d),

provides jurisdiction for civil action on the basis of a diversity of citizenship, if the

amount in controversy exceeds $5,000,000.

      31.       CAFA, in relevant part, states as follows:

             (2) The district courts shall have original jurisdiction of any civil action
             in which the matter in controversy exceeds the sum or value of
             $5,000,000, exclusive of interest and costs, and is a class action in
             which—
                (A) any member of a class of plaintiffs is a citizen of a State different
                from any defendant[.]
                                                 ***
             (6) In any class action, the claims of the individual class members shall
             be aggregated to determine whether the matter in controversy exceeds
             the sum or value of $5,000,000, exclusive of interest and costs.

28 U.S.C. §§ 1332(d)(2), 1332(d)(6).

      32.       For federal jurisdiction to exist under CAFA, more than 100 putative class

members should theoretically exist. 28 U.S.C. § 1332(d)(5)(B).

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       33.    Under CAFA, claims of individual class members are aggregated for the

purposes of ascertaining whether jurisdiction is proper. See 28 U.S.C. § 1332(d)(6).

       34.    As discussed in the previous Section, Plaintiffs are citizens of the State of

Illinois and Defendant is a Delaware corporation with its principal place of business

located in Santa Monica, California. Based upon this diversity of citizenship, Plaintiffs

have satisfied Section 1332(d)(2) of CAFA.

       35.    This civil action is styled as a putative class action where liquidated

damages for each violation of BIPA may result in liquidated damages of up to $5,000.

       36.    Defendant’s most recent Securities and Exchange Commission Form 10-

Q for the quarterly period ending March 31, 2022, claims that “Daily Active Users, or

DAUs, increased 18% year-over-year to 332 million in Q1 2022.” See, Defendant’s Form

10-Q for the quarterly period ending March 31, 2022, at p. 25.

       37.    Defendant defines “Daily Active Users” “as a registered Snapchat user who

opens the Snapchat application at least once during a defined 24-hour period.” Id. at p.

26.

       38.    Given the volume of Snapchat users, is plausible to allege that at least

50,000 to 500,000 Snaps have been created and posted by putative class members who

are residents of the State of Illinois.

       39.    CAFA jurisdiction is satisfied pursuant to Sections 1332(d)(2) and (6) of

CAFA because even if a trier of fact determines that Defendant negligently violated BIPA,

liability as to 5,001 violations would result in 5 million dollars in liquidated damages.

       40.    CAFA jurisdiction is also satisfied pursuant to Sections 1332(d)(2) and (6)

of CAFA because if a trier of fact in this civil action determines that Defendant

intentionally or recklessly violated a provision of BIPA, a finding of 1,001 violations

would result in over 5 million dollars of liquidated damages.


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       41.      As reported in Defendant’s Form 10-Q for the quarterly period ending

March 31, 2022, Defendant has recognized that BIPA litigation “could seriously harm

our business”. See, Defendant’s Form 10-Q for the quarterly period ending March 31,

2022, pdf at p. 62.

       42.      Defendant’s Form 10-Q for the quarterly period ending March 31, 2022,

states as follows:

             From time to time, we are involved in class-action lawsuits and
             other litigation matters that are expensive and time-consuming
             and could seriously harm our business.

                  We are involved in numerous lawsuits, including putative class-
             action lawsuits brought by users and investors, some of which may
             claim statutory damages. We anticipate that we will continue to be a
             target for lawsuits in the future. Because we have millions of users,
             class-action lawsuits against us that are purportedly filed by or on
             behalf of users typically claim enormous monetary damages in the
             aggregate even if the alleged per-user harm is small or nonexistent. For
             example, in November 2020, a putative class filed an action against us
             in Illinois, alleging that we violated Illinois’ Biometric Information
             Privacy Act, or BIPA, with respect to many Illinois users of Snapchat
             and that we are liable to those users for statutory damages. We
             compelled arbitration, which the court granted, dismissing the case
             and ordering the parties to arbitrate the matter; that ruling compelling
             arbitration was recently upheld on appeal. Some plaintiffs’ attorneys
             have also indicated a desire to initiate arbitrations against us, arguing
             that we violated BIPA, in some cases on behalf of large numbers of
             Illinois users. We believe we have meritorious defenses to these
             lawsuits and arbitrations, but an unfavorable outcome in these
             lawsuits or arbitrations could seriously harm our business.

See, Defendant’s Form 10-Q for the quarterly period ending March 31, 2022, at p. 62.

       43.      28 U.S.C. § 1391(b)(2) provides that “[a] civil action may be brought in –

(2) a judicial district in which a substantial part of the events or omissions giving rise

to the claim occurred[.]”

       44.      Venue is proper in this judicial district, a substantial part of the events or

omissions giving rise to Defendant’s below described violations of BIPA took place within

the State of Illinois and this judicial district.


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       45.      Venue is also proper in this judicial district because Plaintiffs are citizens

of the State of Illinois and they seek to vindicate their rights as provided by Illinois law.

       46.      Further, venue is proper in this judicial district because Defendant’s

conduct has harmed Plaintiffs and putative class members who are all citizens of the

State of Illinois and Plaintiffs live within the confines of the Northern District of Illinois.

   II. Defined Terms, Statutory Prohibitions and Allowable Damages

       47.      BIPA defines “Biometric identifier” as follows:
             "Biometric identifier" means a retina or iris scan, fingerprint,
             voiceprint, or scan of hand or face geometry. Biometric identifiers do
             not include writing samples, written signatures, photographs, human
             biological samples used for valid scientific testing or screening,
             demographic data, tattoo descriptions, or physical descriptions such
             as height, weight, hair color, or eye color. Biometric identifiers do not
             include donated organs, tissues, or parts as defined in the Illinois
             Anatomical Gift Act or blood or serum stored on behalf of recipients or
             potential recipients of living or cadaveric transplants and obtained or
             stored by a federally designated organ procurement agency. Biometric
             identifiers do not include biological materials regulated under the
             Genetic Information Privacy Act. Biometric identifiers do not include
             information captured from a patient in a health care setting or
             information collected, used, or stored for health care treatment,
             payment, or operations under the federal Health Insurance Portability
             and Accountability Act of 1996. Biometric identifiers do not include an
             X-ray, roentgen process, computed tomography, MRI, PET scan,
             mammography, or other image or film of the human anatomy used to
             diagnose, prognose, or treat an illness or other medical condition or to
             further validate scientific testing or screening.

740 ILCS 14/10.

       48.      BIPA defines “Biometric information” and “Confidential and sensitive

information” as follows:

             "Biometric information" means any information, regardless of how it is
             captured, converted, stored, or shared, based on an individual's
             biometric identifier used to identify an individual. Biometric
             information does not include information derived from items or
             procedures excluded under the definition of biometric identifiers.

              "Confidential and sensitive information" means personal information
             that can be used to uniquely identify an individual or an individual's
             account or property. Examples of confidential and sensitive

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             information include, but are not limited to, a genetic marker, genetic
             testing information, a unique identifier number to locate an account or
             property, an account number, a PIN number, a pass code, a driver's
             license number, or a social security number.
740 ILCS 14/10.

       49.      Section 15(a) of BIPA requires private entities to develop written policies

regarding the retention and destruction of “biometric identifiers” and “biometric

information”:

             A private entity in possession of biometric identifiers or biometric
             information must develop a written policy, made available to the public,
             establishing a retention schedule and guidelines for permanently
             destroying biometric identifiers and biometric information when the
             initial purpose for collecting or obtaining such identifiers or
             information has been satisfied or within 3 years of the individual's last
             interaction with the private entity, whichever occurs first. Absent a
             valid warrant or subpoena issued by a court of competent jurisdiction,
             a private entity in possession of biometric identifiers or biometric
             information must comply with its established retention schedule and
             destruction guidelines.
740 ILCS 14/15(a).

       50.       “Section 15(a) expressly conditions lawful retention of biometric data on

the continuation of the initial purpose for which the data was collected. The BIPA

requirement to implement data retention and destruction protocols protects a person's

biometric privacy just as concretely as the statute's informed-consent regime.” Fox, 980

F.3d at 1155.

       51.      “It follows that an unlawful retention of a person's biometric data is as

concrete and particularized an injury as an unlawful collection of a person's biometric

data.” Id.

       52.      As set forth below, Defendant has violated Section 15(a) of BIPA because

it appears that it has failed to develop and publish written policies regarding the

retention and destruction of “biometric identifiers” and “biometric information”.




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       53.      Section 15(b) of BIPA requires private entities to obtained informed written

consent from persons before a private entity can obtain their biometric identifiers

and/or biometric information.

       54.      Section 15(b) of BIPA specifically states that “[n]o private entity may

collect, capture, purchase, receive through trade, or otherwise obtain a person's or a

customer's biometric identifier or biometric information, unless it first” takes the

following actions:

             (1) informs the subject or the subject's legally authorized representative
             in writing that a biometric identifier or biometric information is being
             collected or stored;
             (2) informs the subject or the subject's legally authorized representative
             in writing of the specific purpose and length of term for which a
             biometric identifier or biometric information is being collected, stored,
             and used; and
             (3) receives a written release executed by the subject of the biometric
             identifier or biometric information or the subject's legally authorized
             representative.

       55.      BIPA defines “[w]ritten release” as “informed written consent”. 740 ILCS

14/10.

       56.      Informed-consent is the "heart of BIPA." Bryant v. Compass Grp. USA, Inc.,

958 F.3d 617, 626 (7th Cir. 2020).

       57.      Section 15(b) ensures that "consumers understand, before providing their

biometric data, how that information will be used, who will have access to it, and for

how long it will be retained." Id.

       58.      The failure to obtain informed consent before collecting an individual's

biometric data necessarily inflicts an Article III injury. Bryant, 958 F.3d at 619, 624,

626 (comparing a violation of section 15(b) to "an invasion of [an individual's] private

domain, much like an act of trespass").




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      59.    Defendant has violated Section 15(b) of BIPA because it collected Plaintiffs’

biometric information without first obtaining informed written consent from Plaintiffs.

      60.    Section 15(c) of BIPA provides that "[n]o private entity in possession of a

biometric identifier or biometric information may sell, lease, trade, or otherwise profit

from a person's or a customer's biometric identifier or biometric information." 740 ILCS

14/15(c).

      61.    Section 15(c) "flatly prohibits" certain for-profit transactions involving

biometric data. Thornley v. Clearview AI, Inc., 984 F.3d 1241, 1247 (7th Cir. 2021).

      62.    Section 15(c) does not allow an entity to avoid liability merely by obtaining

the informed consent of the individual whose biometric data it profits from.

      63.    Section 15(c)'s prohibition on for-profit transactions involving biometric

data is "the same kind of general regulation as the duty to create and publish a retention

and destruction schedule found in section 15(a)." Thornley, 984 F.3d at 1247.

      64.    Defendant has violated Section 15(c) of BIPA because it has sold, leases,

traded, and/or otherwise profited from its use of Plaintiffs’ biometric identifiers and/or

their biometric information.

      65.    Section 15(d) of BIPA prohibits private entities from disclosing,

redisclosing, or otherwise disseminating a person's biometric identifier or biometric

information with first obtaining informed written consent of the subject.

      66.    Defendant has violated Section 15(d) of BIPA because it has disclosed,

redisclosed, and/or otherwise disseminated Plaintiffs’ biometric identifier and/or

biometric information without their informed written consent.

      67.    In enacting BIPA, the Illinois legislature determined that violations of BIPA

should result in awards of liquidated damages.




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       68.    Section 20 of BIPA provides that “[a] prevailing party may recover for each

violation: ... (1) against a private entity negligently violates a provision of this Act,

liquidated damages of $1,000 or actual damages, whichever is greater” and that “[a]

prevailing party may recover for each violation: ... (a) against a private entity that

intentionally or recklessly violates a provision of this Act, liquidated damages of $5,000

or actual damages, whichever is greater”. 740 ILCS 14/20(1)-(2).

       69.    Additionally, in enacting BIPA, the Illinois legislature determined that “[a]

prevailing party” in a BIPA action “may recover ... (3) reasonable attorneys' fees and

costs, including expert witness fees and other litigation expenses” and injunctive relief.

740 ILCS 14/20(3)-(4).

   III. Defendant’s Violations of BIPA

       70.    This putative Class Action Complaint, brought on behalf of citizens of the

State of Illinois, alleges that Defendant has violated Sections 15(a), 15(b), 15(c) and 15(d)

of BIPA.

       71.    Defendant has violated BIPA because its technology works by imaging a

user’s face to capture and utilize a user’s biometric identifiers and/or biometric

information without a user’s informed written consent.

       72.    Defendant has acquired Looksery, Inc., a company that developed an app.

(Looksery) which used facial recognition technology for the purpose of capturing and

modifying a person’s facial features in real-time.

       73.    Defendant modified the Looksery app. and the Looksery app. became

known as a Snapchat feature referred to as “Lenses”.

       74.    Additionally, Defendant has applied for at least one patent, where the

patent application describes the use of “[a] facial recognition technique”. See, Patent No.




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US9396354B1, found at https://patents.google.com/patent/US9396354 (last visited

5/3/2022).

      75.    Defendant requires users of Snapchat to provide Defendant with access to

their smartphones’ cameras.

      76.    According to Defendant, “[m]any of our services require us to collect

images and other information from your device’s camera and photos.”

      77.    Defendant has also users and potential users “won’t be able to send Snaps

or upload photos from your camera roll unless we can access your camera or photos.”

      78.    As alleged herein, Defendant has failed to properly disclose to Plaintiffs

that its Snapchat app would collect and monetize the "biometric identifiers" and/or

"Biometric information" (hereafter "Biometric(s)") of Plaintiffs without their informed

written consent.

      79.    As alleged herein, Defendant has failed to properly disclose to putative

class members that its Snapchat app would collect and monetize the "biometric

identifiers" and/or "Biometric information" (hereafter "Biometrics") of putative class

members without their informed written consent.

      80.    Defendant has collected the Biometrics of Plaintiffs and putative class

members in violation of the prohibitions set forth by BIPA.

      81.    For example, when Plaintiffs and putative class members have utilized the

Snapchat app., they have utilized a feature called “Lenses” (hereafter “Lenses Feature”,

where Lenses Feature allowed them to modify their facial features with special effects.

      82.    Snatpchat’s Lenses Feature worked by having users (a) open up the

Camera screen in the Shapchat app., on their smartphone, (b) “press” and aim their

smartphone at a user’s face press, (c) “swipe” left to “select” a particular Lenses, (d)




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follow any prompts (such as “Raise Your Eyebrows” and (e) “tap” the “capture button”

to take a Snap or press and hold the “capture button” to take a Snap video.

       83.      Snapchat’s Lenses Feature involved and/or involves the use of technology

to create a face scan or face template of a user where the Feature involved creating,

obtaining and storing of a user’s unique "biometric identifiers" and/or "Biometric

information".

       84.      Snatpchat’s Lenses Feature involved and/or involves the collection, use,

modification, monetization and/or storage of a user’s "biometric identifiers" and/or

"Biometric information" in violation of Section 15(1) of BIPA.

       85.      For example, each time Plaintiffs used the Lenses Feature, the Snapchat

app. scanned their faces and stored the resulting image.

       86.      Each time Plaintiffs used the Lenses Feature, the Snapchat app. scanned

their faces to create a detailed map or digital depiction of their facial features.

       87.      Each time Plaintiffs used the Lenses Feature was used by Plaintiffs, the

Snapchat app. scanned the faces of Plaintiffs, which resulted in Defendant obtaining

and/collecting Plaintiffs’ unique “biometric identifier” or “biometric information” as

these terms are defined by BIPA.

       88.      Each time a Defendant’s Lenses Feature scanned Plaintiffs’ faces and

obtained their unique “biometric identifier” or “biometric information”, the Lenses

Feature did so without Plaintiffs’ informed written consent.

       89.      Further, when putative class members used the Lenses Feature, the

Snapchat app. scanned their faces to create a detailed map of their facial features.

       90.      Each time putative class members used the Lenses Feature, the Snapchat

app. scanned their faces to create a detailed map or digital depiction of their facial

features.


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       91.    Each time putative class members used the Lenses Feature, the Snapchat

app. scanned their faces, which resulted in Defendant obtaining and/or collecting the

unique “biometric identifier” or “biometric information” of each putative class members

- as these terms are defined by BIPA.

       92.    Each time Defendant’s Lenses Feature obtained and/or collected the

unique “biometric identifier” or “biometric information” of putative class members, it did

so without their informed written consent.

       93.    The Snapchat app. also utilizes so-called “Sponsored Lenses” that are

utilized by in conjunction with Defendant’s sponsors.

       94.    On information and belief, “Sponsored Lenses” have violated Section 15(b)

of BIPA by obtaining and/or collecting the unique “biometric identifier” or “biometric

information” of Plaintiffs and putative class members – without their informed written

consent.

       95.    The Snapchat app. also scanned and modified the facial features of

Plaintiffs and putative class members with certain user enabled filters (hereafter

“Filters”).

       96.    Snatpchat’s    Filters   involve    and/or   involved   the   collection,   use,

modification, monetization and/or storage of the "biometric identifiers" and/or

"Biometric information" of Plaintiffs and putative class members.

       97.    Each time Plaintiffs used a Filter, the Snapchat app. scanned their faces

and obtained their unique “biometric identifier” or “biometric information” as these

terms are defined by BIPA.

       98.    Each time Plaintiffs used a Snapchat app. Filter a scan of their faces, the

Snapchat app. collected and/or obtained their unique “biometric identifier” or

“biometric information” without their informed written consent.


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        99.    Each time putative class members used a Filter, the Snapchat app.

scanned their faces and obtained their unique “biometric identifier” or “biometric

information” as these terms are defined by BIPA.

        100.   Each time putative class members used a Snapchat app. Filter a scan of

their faces, the Snapchat app. collected and/or obtained their unique “biometric

identifier” or “biometric information” without their informed written consent.

        101.   Defendant has failed to fully and properly disclose to Plaintiffs and

putative class members that its Filters collected, captured, or otherwise obtained their

unique “biometric identifier” or “biometric information” as these terms are defined by

BIPA.

        102.   Defendant has failed to disclose to Plaintiffs and putative class members

that its Filters collected, captured, or otherwise obtained their unique “biometric

identifier” or “biometric information” as these terms are defined by BIPA.

        103.   Defendant failed to obtain Plaintiffs’ informed written consent prior to

obtaining their unique “biometric identifier” or “biometric information” as these terms

are defined by BIPA.

        104.   Defendant failed to obtain putative class members informed written

consent prior to obtaining their unique “biometric identifier” or “biometric information”

as these terms are defined by BIPA.

        105.   Defendant has failed to disclose how it uses the “biometric identifier” and

“biometric information” they have obtained from Plaintiffs and putative class members.

        106.   Defendant has failed to disclose to Plaintiffs and putative class members

whether it has shared their “biometric identifier” or “biometric information” with third

parties.




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       107.   Defendant has failed to disclose to Plaintiffs and putative class members

whether it will share their “biometric identifier” or “biometric information” with third

parties.

       108.   Defendant has failed to disclose to Plaintiffs and putative class members

whether it has sold their “biometric identifier” or “biometric information” to third parties.

       109.   Each of the proposed class definitions are limited to BIPA violations

occurring within the past five (5) years from the filing of this putative class action.

   IV. Causes of Action

       Count I – Asserting Violations of Sections 15(a) of BIPA

       110.   Plaintiffs allege and reassert Paragraphs 1-109 as if fully set forth above:

       111.   Informed-consent is the "heart of BIPA." Bryant v. Compass Grp. USA, Inc.,

958 F.3d 617, 626 (7th Cir. 2020).

       112.   Section 15(a) of BIPA states as follows:

           A private entity in possession of biometric identifiers or biometric
           information must develop a written policy, made available to the public,
           establishing a retention schedule and guidelines for permanently
           destroying biometric identifiers and biometric information when the
           initial purpose for collecting or obtaining such identifiers or information
           has been satisfied or within 3 years of the individual's last interaction
           with the private entity, whichever occurs first. Absent a valid warrant
           or subpoena issued by a court of competent jurisdiction, a private
           entity in possession of biometric identifiers or biometric information
           must comply with its established retention schedule and destruction
           guidelines.

See, 740 ILCS 14/15(a) (emphasis supplied).

       113.   Defendant has failed to “develop a written policy, made available to the

public, establishing a retention schedule and guidelines for permanently destroying

biometric identifiers and biometric information” as required by 740 ILCS 14/15(a).




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       114.   On information and belief, Defendant does not destroy “biometric

identifiers” or “biometric information” after “the initial purpose for collecting or obtaining

such identifiers or information has been satisfied” as required by 740 ILCS 14/15(a).

       115.   On information and belief, Defendant has failed to develop, publicly

disclose, and otherwise comply with a data-retention schedule and guidelines for the

permanent destruction of “biometric identifiers” and “biometric information”.

       116.   Defendant’s most recent Privacy Policy confusingly refers to “Third-Party

Content and Integrations” and broadly states that “[o]ur services may contain third-

party content and integrations.”

       117.   While Defendant’s most recent Privacy Policy states that “[e]xamples

include third-party integrations in the Camera, third-party games in Chat, and third-

party Snap Kit integrations”, Defendant’s Privacy Policy does not fully explain what

types of information is shared with unidentified third-parties.

       118.   Instead, Defendant’s most recent Privacy Policy confusingly and broadly

states the following, “[t]hrough these integrations, you may be providing information to

the third party as well as to Snap.” (emphasis supplied)

       119.   Rather than explain what this phrase means, Defendant’s Privacy Policy

attempts to disavow any responsibility for any third-party content sharing by saying,

“[w]e are not responsible for how those third parties collect or use your information.”

       120.   Defendant’s failure to comply with BIPA’s retention-and-destruction policy

results Article III injury. "An unlawful retention of biometric data inflicts a privacy injury

in the same sense that an unlawful collection does." Fox v. Dakkota Integrated Sys., LLC,

980 F.3d 1146, 1154-55 (7th Cir. 2020).




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       121.   On information and belief, Defendant does not destroy a user’s “biometric

identifiers” or “biometric information” “within 3 years of the individual's last interaction

with the private entity” as required by 740 ILCS 14/15(a).

       122.   As stated above, on information and belief, Defendant has violated Section

15(a) of BIPA by failing to develop and publicly disclose an easily explained and/or

understood data-retention schedule for the permanent destruction of “biometric

identifiers” and/or “biometric information” after each user’s Snap has purportedly

expired.

       123.   As stated above, on information and belief, Defendant has violated Section

15(a) of BIPA by failing to develop and publicly disclose an easily explained and/or

understood data-retention guidelines for the permanent destruction of “biometric

identifiers” and/or “biometric information” after each user’s Snap has purportedly

expired.

       124.   As stated above, on information and belief, Defendant has violated Section

15(a) of BIPA by failing to comply with a data-retention schedule and guidelines for the

permanent destruction of “biometric identifiers” and/or “biometric information” after

each user’s Snap has purportedly expired.

       125.   Defendant’s violations of Section 15(a) of BIPA has resulted in the unlawful

retention and sharing of users’ “biometric identifiers” and/or “biometric information”

with currently unknown third-parties.

       126.   Defendant’s failure to comply with a retention-and-destruction policy has

harmed Plaintiffs and putative class members where Defendant’s unlawful retention of

“biometric identifiers” and/or “biometric information” appears to go beyond the time

limits set by section 15(a). See, e.g., Fox, 980 F.3d at 1149 and 1155 (finding a "concrete




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and particularized" harm where the plaintiff alleged that the defendant violated the "full

panoply" of section 15(a) requirements).

      127.   On information and belief, more than forty (40) Illinois residents have

opted out of the arbitration clause that is contained within Defendant’s Terms of Service.

      128.   On information and belief, more than forty (40) Illinois residents have

utilized the Snapchat app. without providing Defendant with informed written consent

to collect, use, modify, monetize and/or store their “biometric identifiers” and/or

“biometric information”.

      129.   On information and belief, more than forty (40) Illinois residents have

utilized the Snapchat app. without providing Defendant with informed written consent

where Defendant unlawfully collected, used, modified, monetize and/or stored their

“biometric identifiers” and/or “biometric information” in violation of the prohibitions

and requirements set forth by BIPA.

      130.   Defendant violated BIPA by collecting, using, modifying and/or storing the

“biometric identifiers” and/or “biometric information” of Plaintiffs and putative class

members without their informed written consent.

      131.   Plaintiff and putative class members have suffered damages in the form of

liquidated damages and provided by 740 ILCS 14/20(1)-(2).

      132.   The proposed Class is defined as:

          All Illinois citizens (“Users”) who used Snap Inc.’s Snapchat app. where the
          app.’s Lenses Feature, Filters and other features collected, captured and
          otherwise obtained the “biometric information” and/or “biometric
          identifiers” of Users without Snap Inc. first obtaining informed a “written
          release” as these terms are defined by the Illinois Biometric Information
          Privacy Act, 740 ILCS 14/10.

      133.   The proposed Class is so numerous that the individual joinder of all

members is impracticable.



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       134.   Common questions of law or fact exist as a result of Defendant’s violations

of BIPA.

       135.   Plaintiffs’ claims are typical of the claims of putative class members.

       136.   The defenses that Defendant may assert against Plaintiffs are typical of

the defenses that Defendant may assert against putative class members.

       137.   Plaintiffs will fairly and adequately protect the interests of the putative

class members as Plaintiffs seek to vindicate their rights afforded by BIPA and they seek

to obtain declaratory, injunctive and monetary relief for all impacted class members.

       138.   Plaintiffs’ counsel will fairly and adequately protect the interest of the

putative class members. See, e.g., Molinari v. Fin. Asset Mgmt. Sys., Inc., 2021 U.S. Dist.

LEXIS 235401, *3 (N.D. Ill. Nov. 22, 2021) (appointing attorney James C. Vlahakis as

provisional class counsel in putative class action involving the Fair Debt Collection

Practices Act and the Telephone Consumer Protection Act, with final approval being

granted by Dkt. 134); In re Apple Inc. Device Performance Litig., 2021 U.S. Dist. LEXIS

50550, 2021 WL 1022867 (N.D. Cali. Mar. 17, 2021) (granting final approval of $310-

$500 million dollar settlement where Mr. Vlahakis was appointed the Steering

Committee (Dkt. 99) of a class action involving Apple’s alleged practice of “throttling”

down the performance of older model iPhones).

       139.   The proposed Class should be certified to avoid inconsistent or varying

adjudications with respect to individual class members that would establish

incompatible standards of conduct for the party opposing the class.

       140.   The proposed Class should be certified to avoid adjudications with respect

to individual class members that, as a practical matter, would be dispositive of the

interests of the other members not parties to the individual adjudications or would

substantially impair or impede their ability to protect their interests.


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       141.   The proposed Class should be certified because Defendant has acted or

refused to act on grounds that apply generally to the class, so that final injunctive relief

or corresponding declaratory relief is appropriate respecting the class as a whole.

       142.   The proposed Class should be certified because questions of law or fact

common to class members predominate over any questions affecting only individual

members, and because a class action is superior to other available methods for fairly

and efficiently adjudicating the present controversy.

       143.   The proposed Class can be ascertained from Defendant’s records.

       WHEREFORE, Plaintiffs respectfully request that this Honorable Court provide

Plaintiffs and putative class members with the following relief:

           a. Liquidated damages for negligent violations of Section 15(a);
           b. Liquidated damages for intentional and/or reckless violations of
              Section 15(a);
           c. Reasonable attorney’s fees and costs;
           d. Enjoining Defendant from further violations of Section 15(a);and
           e. Certifying the proposed Class set forth above.

       Count II – Asserting Violations of Section 15(b) of BIPA

       144.   Plaintiffs allege and reassert Paragraphs 1-109 as if fully set forth above:

       145.   Section 15b of BIPA states that “[n]o private entity may collect, capture,

purchase, receive through trade, or otherwise obtain a person's or a customer's

biometric identifier or biometric information, unless it first” takes the following three (3)

actions:

           (1) informs the subject or the subject's legally authorized representative
           in writing that a biometric identifier or biometric information is being
           collected or stored;

           (2) informs the subject or the subject's legally authorized representative
           in writing of the specific purpose and length of term for which a
           biometric identifier or biometric information is being collected, stored,
           and used; and


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          (3) receives a written release executed by the subject of the biometric
          identifier or biometric information or the subject's legally authorized
          representative.

740 ILCS 14/15(b)(1)-(3).

      146.   As set forth in Section III, Defendant violated of Section 15(b)(1) of BIPA by

failing to inform Plaintiffs and putative class members in writing that the Snapchat app.

was storing or collecting their “biometric identifiers” or “biometric information”. 740

ILCS 14/15(b)(1).

      147.   As set forth in Section III, Defendant violated of Section 15(b)(2) of BIPA by

failing to inform Plaintiffs and putative class members in writing of the specific purpose

and length of term for which their “biometric identifiers” and/or “biometric information”

was “being collected, stored, and used.” 740 ILCS 14/15(b)(2).

      148.   As set forth in Section III, Defendant violated of Section 15(b)(3) of BIPA by

failing to obtain a written release executed by Plaintiffs and putative class members

before Defendant collected their “biometric identifiers” and/or “biometric information”.

740 ILCS 14/15(b)(3).

      149.   Violations of Section 15(b) of BIPA result in concrete injuries:

          As the Illinois Supreme Court recognized in Rosenbach, the informed-
          consent regime laid out in section 15(b) is the heart of BIPA. The text of
          the statute demonstrates that its purpose is to ensure that consumers
          understand, before providing their biometric data, how that information
          will be used, who will have access to it, and for how long it will be retained.
          The judgment of Illinois's General Assembly is that the sensitivity of
          biometric information and the risk of identity theft or other privacy or
          economic harm that may result from its dissemination, necessitates that
          people be given the opportunity to make informed choices about to whom
          and for what purpose they will relinquish control of that information.
          Compass's failure to abide by the requirements of section 15(b) before it
          collected Smart Market users' fingerprints denied Bryant and others like
          her the opportunity to consider whether the terms of that collection and
          usage were acceptable given the attendant risks.

          This was not a failure to satisfy a purely procedural requirement. Rather,
          as in Robertson, Compass withheld substantive information to which
          Bryant was entitled and thereby deprived her of the ability to give the

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          informed consent section 15(b) mandates. Equipped with the missing
          information, she may have chosen not to use the vending machines and
          instead brought her own lunch or snacks. Or she may have opted for the
          convenience of the machines. She did not realize that there was a choice
          to be made and what the costs and benefits were for each option. This
          deprivation is a concrete injury-in-fact that is particularized to Bryant. She
          thus meets the requirements for Article III standing on her section 15(b)
          claim.

Bryant v. Compass Grp. USA, Inc., 958 F.3d 617, 626 (7th Cir. 2020).

      150.   The failure to obtain informed consent before collecting an individual's

biometric data necessarily inflicts an Article III injury. Bryant, 958 F.3d at 619, 624,

626 (comparing a violation of Section 15(b) to "an invasion of [an individual's] private

domain, much like an act of trespass").

      151.   Defendant’s collection, use, modification, monetization and/or storage of

Plaintiff and putative class members’ “biometric identifiers” and/or “biometric

information” - without informed written consent - violates Section 15(b).

      152.   Plaintiffs and putative class members have utilized the Snapchat app. in

a manner that has resulted in Defendant in collecting, using, modifying, monetizing

and/or storing their “biometric identifiers” and/or “biometric information” in violation

of the prohibitions and requirements set forth by BIPA.

      153.   Defendant did not obtain the informed written consent of Plaintiffs and

putative class members to allow the Snapchat app. to collect, use, modify, monetize

and/or store their “biometric identifiers” and/or “biometric information”.

      154.   Defendant profits from its use of Snapchat’s Lenses Feature and Filters

where Defendant has unlawfully obtained the “biometric identifiers” and/or “biometric

information” of Plaintiffs and putative class members.

      155.   The Snapchat app. also utilizes so-called “Sponsored Lenses” that are

utilized by in conjunction with Defendant’s sponsors.



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      156.   On information and belief, “Sponsored Lenses” have violated Section 15(b)

of BIPA by obtaining and/or collecting the unique “biometric identifier” or “biometric

information” of Plaintiffs and putative class members – without their informed written

consent.

      157.   The Snapchat app. also utilizes so-called “Sponsored Filters” that are

utilized by in conjunction with Defendant’s sponsors.

      158.   On information and belief, “Sponsored Filters” have violated Section 15(b)

of BIPA by obtaining and/or collecting the unique “biometric identifier” or “biometric

information” of Plaintiffs and putative class members – without their informed written

consent.

      159.   On information and belief, more than forty (40) Illinois residents have

opted out of the arbitration clause that is contained within Defendant’s Terms of Service.

      160.   On information and belief, more than forty (40) Illinois residents have

utilized the Snapchat app. without providing Defendant with informed written consent

to collect, use, modify, monetize and/or store their “biometric identifiers” and/or

“biometric information”.

      161.   On information and belief, more than forty (40) Illinois residents have

utilized the Snapchat app. without providing Defendant with informed written consent

where Defendant unlawfully collected, used, modified, monetize and/or stored their

“biometric identifiers” and/or “biometric information” in violation of the prohibitions

and requirements set forth by BIPA.

      162.   Defendant violated BIPA by collecting, using, modifying and/or storing the

“biometric identifiers” and/or “biometric information” of Plaintiffs and putative class

members without their informed written consent.




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      163.    Plaintiff and putative class members have suffered damages in the form of

liquidated damages and provided by 740 ILCS 14/20(1)-(2).

      164.    The proposed Class is defined as:

           All Illinois citizens (“Users”) who used Snap Inc.’s Snapchat app. where the
           Snap Inc.’s Snapchat app. collected, captured and otherwise obtained the
           “biometric information” and/or “biometric identifiers” of Users without
           first obtaining informed a “written release” as these terms are defined by
           the Illinois Biometric Information Privacy Act, 740 ILCS 14/10.

      165.    The proposed Class is so numerous that the individual joinder of all

members is impracticable.

      166.    Common questions of law or fact exist as a result of Defendant’s violations

of BIPA.

      167.    Plaintiffs’ claims are typical of the claims of putative class members.

      168.     The defenses that Defendant may assert against Plaintiffs are typical of

the defenses that Defendant may assert against putative class members.

      169.    Plaintiffs will fairly and adequately protect the interests of the putative

class members as Plaintiffs seek to vindicate their rights afforded by BIPA and they seek

to obtain declaratory, injunctive and monetary relief for all impacted class members.

      170.    Plaintiffs’ counsel will fairly and adequately protect the interest of the

putative class members. See, e.g., Molinari v. Fin. Asset Mgmt. Sys., Inc., 2021 U.S. Dist.

LEXIS 235401, *3 (N.D. Ill. Nov. 22, 2021) (appointing attorney James C. Vlahakis as

provisional class counsel in putative class action involving the Fair Debt Collection

Practices Act and the Telephone Consumer Protection Act, with final approval being

granted by Dkt. 134); In re Apple Inc. Device Performance Litig., 2021 U.S. Dist. LEXIS

50550, 2021 WL 1022867 (N.D. Cali. Mar. 17, 2021) (granting final approval of $310-

$500 million dollar settlement where Mr. Vlahakis was appointed the Steering




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Committee (Dkt. 99) of a class action involving Apple’s alleged practice of “throttling”

down the performance of older model iPhones).

       171.   The proposed Class should be certified to avoid inconsistent or varying

adjudications with respect to individual class members that would establish

incompatible standards of conduct for the party opposing the class.

       172.   The proposed Class should be certified to avoid adjudications with respect

to individual class members that, as a practical matter, would be dispositive of the

interests of the other members not parties to the individual adjudications or would

substantially impair or impede their ability to protect their interests.

       173.   The proposed Class should be certified because Defendant has acted or

refused to act on grounds that apply generally to the class, so that final injunctive relief

or corresponding declaratory relief is appropriate respecting the class as a whole.

       174.   The proposed Class should be certified because questions of law or fact

common to class members predominate over any questions affecting only individual

members, and because a class action is superior to other available methods for fairly

and efficiently adjudicating the present controversy.

       175.   The proposed Class can be ascertained from Defendant’s records

       WHEREFORE, Plaintiffs respectfully request that this Honorable Court provide

Plaintiffs and putative class members with the following relief:

          a. Liquidated damages for negligent violations of Section 15(b);
          b. Liquidated damages for intentional and/or reckless violations of
             Section 15(b);
          c. Reasonable attorney’s fees and costs;
          d. Enjoining Defendant from further violations of Section 15(b);and
          e. Certifying the proposed Class set forth above.

       Count III – Asserting Violations of Section 15(c) of BIPA

       176.   Plaintiffs allege and reassert Paragraphs 1-109 as if fully set forth above:

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       177.   Section 15(c) of BIPA provides that "[n]o private entity in possession of a

biometric identifier or biometric information may sell, lease, trade, or otherwise profit

from a person's or a customer's biometric identifier or biometric information." 740 ILCS

14/15(c).

       178.   Section 15(c) of BIPA "flatly prohibits" the above specified for-profit

transactions involving biometric data. Thornley v. Clearview AI, Inc., 984 F.3d 1241,

1247 (7th Cir. 2021).

       179.   Defendant cannot avoid liability for violating Section 15 by obtaining the

informed written consent Plaintiff and putative class members.

       180.   Plaintiffs and putative class members have been harmed by Defendant

profiting off of the sale, lease, trade, and/or monetization of their “biometric identifiers”

and/or “biometric information.”

       181.   As set forth above in Section III, on information and belief, Defendant has

failed to disclose to Plaintiffs and putative Class members that it has sold their biometric

identifier and/or biometric information to third parties.

       182.   Further, Defendant has sold, leased, traded, and/or monetization the

unique “biometric identifier” or “biometric information” of Plaintiffs and putative class

members.

       183.   The proposed Class is defined as:

              All Illinois citizens (“Users”) who used Snap Inc.’s Snapchat app.
              where the app.’s Lenses Feature, Filters and other features
              collected, captured and otherwise obtained the “biometric
              information” and/or “biometric identifiers” of Users (as these terms
              are defined by the Illinois Biometric Information Privacy Act, 740
              ILCS 14/10) and Snap Inc. thereafter sold, leased, traded, or
              otherwise profited from a Users’ “biometric identifier” or “biometric
              information.”

       184.   The proposed Class is so numerous that the individual joinder of all

members is impracticable.

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       185.   Common questions of law or fact exist as a result of Defendant’s violations

of BIPA.

       186.   Plaintiffs’ claims are typical of the claims of putative class members.

       187.   The defenses that Defendant may assert against Plaintiffs are typical of

the defenses that Defendant may assert against putative class members.

       188.   Plaintiffs will fairly and adequately protect the interests of the putative

class members as Plaintiffs seek to vindicate their rights afforded by BIPA and they seek

to obtain declaratory, injunctive and monetary relief for all impacted class members.

       189.   Plaintiffs’ counsel will fairly and adequately protect the interest of the

putative class members. See, e.g., Molinari v. Fin. Asset Mgmt. Sys., Inc., 2021 U.S. Dist.

LEXIS 235401, *3 (N.D. Ill. Nov. 22, 2021) (appointing attorney James C. Vlahakis as

provisional class counsel in putative class action involving the Fair Debt Collection

Practices Act and the Telephone Consumer Protection Act, with final approval being

granted by Dkt. 134); In re Apple Inc. Device Performance Litig., 2021 U.S. Dist. LEXIS

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$500 million dollar settlement where Mr. Vlahakis was appointed the Steering

Committee (Dkt. 99) of a class action involving Apple’s alleged practice of “throttling”

down the performance of older model iPhones).

       190.   The proposed Class should be certified to avoid inconsistent or varying

adjudications with respect to individual class members that would establish

incompatible standards of conduct for the party opposing the class.

       191.   The proposed Class should be certified to avoid adjudications with respect

to individual class members that, as a practical matter, would be dispositive of the

interests of the other members not parties to the individual adjudications or would

substantially impair or impede their ability to protect their interests.


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       192.     The proposed Class should be certified because Defendant has acted or

refused to act on grounds that apply generally to the class, so that final injunctive relief

or corresponding declaratory relief is appropriate respecting the class as a whole.

       193.     The proposed Class should be certified because questions of law or fact

common to class members predominate over any questions affecting only individual

members, and because a class action is superior to other available methods for fairly

and efficiently adjudicating the present controversy.

       194.     The proposed Class can be ascertained from Defendant’s records.

       WHEREFORE, Plaintiffs respectfully request that this Honorable Court provide

Plaintiffs and putative class members with the following relief:

          a. Liquidated damages for negligent violations of Section 15(c);
          b. Liquidated damages for intentional and/or reckless violations of
             Section 15(c);
          c. Reasonable attorney’s fees and costs;
          d. Enjoining Defendant from further violations of Section 15(c); and
          e. Certifying the proposed Class set forth above.

       Count IV – Asserting Violations of Section 15(d) of BIPA

       195.     Plaintiffs allege and reassert Paragraphs 1-109 as if fully set forth above:

       196.     Section 15(d) prohibits a private entity in possession of biometric data from

disclosing or disseminating that data except in certain circumstances, such as obtaining

a subject's consent. 740 ILCS 14/15(d).

       197.     In full, Section 15(d) of BIPA states as follows:

         No private entity in possession of a biometric identifier or biometric
         information may disclose, redisclose, or otherwise disseminate a
         person's or a customer's biometric identifier or biometric information
         unless:

                 (1) the subject of the biometric identifier or
              biometric information or the subject's legally authorized
              representative consents to the disclosure or redisclosure;


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                 (2) the disclosure or redisclosure completes a
              financial transaction requested or authorized by the subject of the
              biometric identifier or the biometric information or the subject's
              legally authorized representative;

                (3) the disclosure or redisclosure is required by
              State or federal law or municipal ordinance; or

                (4) the disclosure is required pursuant to a valid
              warrant or subpoena issued by a court of competent jurisdiction.

See, 740 ILCS 14/15(d).

       198.     Defendant has violated Section 15(d) of BIPA because it has disclosed,

redisclosed, and/or otherwise disseminated Plaintiffs and putative class members’

“biometric identifiers” and/or “biometric information” without their informed written

consent.

       199.     For example, Defendant has violated Section 15(d) of BIPA by disclosing,

redisclosing, and/or otherwise disseminating Plaintiffs and putative class members’

“biometric identifiers” and/or “biometric information” to third-parties - without the

informed written consent Plaintiffs and putative class members.

       200.     The Seventh Circuit has held that the unlawful disclosure of biometric

data invades an individual's private domain "just as surely as an unconsented collection

or retention does." Cothron v. White Castle Sys., Inc., 20 F.4th 1156, 1161 (7th Cir. 2021)

       201.     The unlawful disclosure of an individual's biometric data inflicts an injury

that satisfies Article III. Id.

       202.     The proposed Class is defined as:

                All Illinois citizens (“Users”) who used Snap Inc.’s Snapchat app.
                where the app.’s Lenses Feature, Filters and other features
                collected, captured and otherwise obtained the “biometric
                information” and/or “biometric identifiers” of Users (as these terms
                are defined by the Illinois Biometric Information Privacy Act, 740
                ILCS 14/10) and Snap Inc. disclosed, redisclosed, or otherwise
                disseminated Users’ – “biometric information” and/or “biometric
                identifiers” without the consent or authorization of Users.


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      203.   The proposed Class is so numerous that the individual joinder of all

members is impracticable.

      204.   Common questions of law or fact exist as a result of Defendant’s violations

of BIPA.

      205.   Plaintiffs’ claims are typical of the claims of putative class members.

      206.    The defenses that Defendant may assert against Plaintiffs are typical of

the defenses that Defendant may assert against putative class members.

      207.   Plaintiffs will fairly and adequately protect the interests of the putative

class members as Plaintiffs seek to vindicate their rights afforded by BIPA and they seek

to obtain declaratory, injunctive and monetary relief for all impacted class members.

      208.   Plaintiffs’ counsel will fairly and adequately protect the interest of the

putative class members. See, e.g., Molinari v. Fin. Asset Mgmt. Sys., Inc., 2021 U.S. Dist.

LEXIS 235401, *3 (N.D. Ill. Nov. 22, 2021) (appointing attorney James C. Vlahakis as

provisional class counsel in putative class action involving the Fair Debt Collection

Practices Act and the Telephone Consumer Protection Act, with final approval being

granted by Dkt. 134); In re Apple Inc. Device Performance Litig., 2021 U.S. Dist. LEXIS

50550, 2021 WL 1022867 (N.D. Cali. Mar. 17, 2021) (granting final approval of $310-

$500 million dollar settlement where Mr. Vlahakis was appointed the Steering

Committee (Dkt. 99) of a class action involving Apple’s alleged practice of “throttling”

down the performance of older model iPhones).

      209.   The proposed Class should be certified to avoid inconsistent or varying

adjudications with respect to individual class members that would establish

incompatible standards of conduct for the party opposing the class.

      210.   The proposed Class should be certified to avoid adjudications with respect

to individual class members that, as a practical matter, would be dispositive of the


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interests of the other members not parties to the individual adjudications or would

substantially impair or impede their ability to protect their interests.

       211.   The proposed Class should be certified because Defendant has acted or

refused to act on grounds that apply generally to the class, so that final injunctive relief

or corresponding declaratory relief is appropriate respecting the class as a whole.

       212.   The proposed Class should be certified because questions of law or fact

common to class members predominate over any questions affecting only individual

members, and because a class action is superior to other available methods for fairly

and efficiently adjudicating the present controversy.

       213.   The proposed Class can be ascertained from Defendant’s records.

       WHEREFORE, Plaintiffs respectfully request that this Honorable Court provide

Plaintiffs and putative class members with the following relief:

          a. Liquidated damages for negligent violations of Section 15(d);
          b. Liquidated damages for intentional and/or reckless violations of
             Section 15(d);
          c. Reasonable attorney’s fees and costs;
          d. Enjoining Defendant from further violations of Section 15(d); and
          e. Certifying the proposed Class set forth above.

                                         Jury Demand

       Plaintiffs demand a jury trial.

James C. Vlahakis                                 Dated: 5/11/2022
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